Case 1:15-cv-13500-TLL-PTM ECF No. 52 filed 05/03/17                 PageID.271     Page 1 of 2




                       UNITED STATES DISTRICT COURT
          IN THE EASTERN DISTRICT OF MICHIGAN -- NORTHERN DIVISION

KIMBERLY CHAPMAN,
     Plaintiff

-vs-                                                 Case No. 1:15-cv-13500
                                                     Hon. Thomas L. Ludington
                                                     Magistrate Judge: Patricia T. Morris
EQUIFAX INFORMATION SERVICES, LLC
et al.
       Defendants

                          STIPULATED ORDER OF DISMISSAL

       Having been advised by the stipulation of the parties below, it is ordered that the claims

against Merchants & Medical Credit Corporation, Inc. are dismissed with prejudice and without

costs or attorney fees.

       So ordered.
                                                     s/Thomas L. Ludington
                                                     THOMAS L. LUDINGTON
                                                     United States District Judge
Dated: May 3, 2017



Stipulated To By:


s/ Ian B. Lyngklip                                 s/ by consent Charity Olson             \
Ian B. Lyngklip P47173                             Charity Olson (P-68295)
LYNGKLIP & ASSOCIATES                              Olson Law Group
CONSUMER LAW CENTER, PLC                           Attorney for Merchants & Medical Credit
Attorney For Kimberly Chapman                      2723 S. State Street
24500 Northwestern Highway, Ste. 206               Ste. 150
Southfield, MI 48075                               Ann Arbor, MI 48104
PH: (248) 208-8864                                 PH: (734) 222-5179
Ian@MichiganConsumerLaw.Com




                                               1
Case 1:15-cv-13500-TLL-PTM ECF No. 52 filed 05/03/17                                  PageID.272   Page 2 of 2




                                            PROOF OF SERVICE

                   The undersigned certifies that a copy of the foregoing order was served
                   upon each attorney or party of record herein by electronic means or first
                   class U.S. mail on May 3, 2017.

                                                     s/Michael A. Sian
                                                     MICHAEL A. SIAN, Case Manager




                                                      2
